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        Case 17-11739-BFK              Doc 42 Filed 01/27/18 Entered 01/28/18 00:27:09                               Desc Imaged
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                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 17-11739-BFK
Mark Anthony Anderson                                                                                      Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0422-9                  User: shepherda                    Page 1 of 1                          Date Rcvd: Jan 25, 2018
                                      Form ID: pdford1                   Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 27, 2018.
db             +Mark Anthony Anderson,   1411 Admiral Drive,   Woodbridge, VA 22192-2602

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/Text: bankruptcydept@applefcu.org Jan 26 2018 02:37:00      Apple Federal Credit Union,
                 Collections Dept,   4029 Ridge Top Road,   Fairfax, VA 22030-7435
                                                                                             TOTAL: 1

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 27, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 25, 2018 at the address(es) listed below:
              Diana C. Theologou   on behalf of Creditor    Apple Federal Credit Union
               dtheologou@silvermanlegal.com
              Karl A. Moses, Jr.   on behalf of Creditor    Ditech Financial LLC karl.moses@bww-law.com
              Michael Jacob Owen Sandler   on behalf of Debtor Mark Anthony Anderson sandlerlaw@yahoo.com
              Nathan A. Fisher   on behalf of Debtor Mark Anthony Anderson Fbarsad@cs.com, barsad@aol.com
              Thomas P. Gorman   ch13alex@gmail.com, tgorman26@gmail.com
                                                                                             TOTAL: 5
